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DEPARTMENT of EDUCATION

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CERTIFICATION

CONTACT

Name: Linda A Porter Relationship to Student: Self
D.O.B: 1963 2 Student First Name:

SSN: 9460 xe Student Middle Name:

Email: Hlane43@aol.com ot es Student Last Name:

Phone: 5182508167 ot ex Student SSN:

Street: 4ST AGNES HIGHWAY ( oo

City: COHOES

State: New York

Zip Code: 12047

CASE

Case Number: 01905754 Date/Time Opened: 9/3/2019 3:28 PM
Enrollment Start Date: 1/1/2010 Enrollment Status: Graduated
Enrollment End Date: 1/1/2016 Enrollment Dates are Approximate: v

Enrollment Dates Explanation:

School:

SOUTH UNIVERSITY - Online (SAVANNAH, GA)

Other Loan Forgiveness Explanation:

Other Tuition Recovery Explanation:

Forbearance/Stopped Collect. Requested: vw

ALLEGATIONS

Allegation
Type:

Led to
Enrollment: v

Employment Prospects

When my admissions advisor ‘Charles Anderson’ signed me up I had questions since I was not a young person going back to

Allegation

college. I had a specific goal in mind to be an ultra sound technician. Charles told me with the Health/Science degree I would be
eligible for a variety of technician jobs and that my goal was reasonable based on the program I chose. I have been trying since
2015, just before I graduated to acquire a job in the Health field. I checked into ultrasound technician jobs, but it requires further
education and certification to do this job. I was mislead to believe I could get allied health jobs as a technician. I have applied over
and over to hospitals and have never received any response with my educational credits. I work for the State Government and have

tried to find a transfer-type position with the Health Department. All the positions available require not only a Bachelor's degree, but
some even Masters Degrees, plus experience in years to acquire a job with them. I've worked in the same job for 21 years, so with

Explanation:™Y education alone | cannot even transfer. When I surmounted this financial debt to Fed Loan Servicing (at first 1 had Parent Plus
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loans for my son - also in college, but he was able to get them transferred to his private payee with Great Lakes Service and he has
been paying his loans). I could not even acquire a home equity credit from my bank because of all the loans I had. My loans are
currently about $58,000. Fed Loans first looked at my income (and I was paying based on my income level), but when I married in
2015 (name change from Linda Langevoort to Linda Porter), they wanted to include what my husband made (he was only just
attempting to work after being on disability for many years- his income was steady at first, but declined later) and the financial
impact was too great to pay what they wanted. I continued to pay my originally stated amount - which was all I could afford. Fed
Loans began tacking on interest beyond my

Allegation Program Cost and Nature of Loans
Type:

Led to :

Enroliment: v

L was led to believe that I could pay my loans by my income level. Fed Loans does not come up with an amount you can pay and
still survive. They take none of your other bills you may have into account. I pay mortgage and a car payment and I was the main
income for a while until my husband went to work. His income was not reliable working in Security positions. He had his own bills
and couldn't pay towards my loans too. They seemed like as long as you signed their documents, going to college with them would
be no problem. They always encouraged me to continue, never leading me to know how much debt was going to be over my head
when I finished, nor how difficult it would be to pay back. For a while L could not even purchase a newer vehicle because of the
amount of loans. No one would lend money to me. As I said before, I could not even get home equity through my bank. The bank
wanted to see me paying my loans before they'd advance anything to me. I kept the same car, incurring bills due to its age and needs
to service it. I needed a car to work. When I had my son's Parent Plus loan on my account earlier, that impacted me greatly too.
Thankfully, he took that loan off my credit report by finding a lender to make his payments too. Even when it was off my credit, it
was difficult to not be a risk with my bank.

Allegation
Explanation:

Allegation

Type:

Led to

Enrollment:
They told me my schooling with South University was accredited. I asked this question when | was enrolled. | always expected to

Allegation be able to transfer credits to another school should I desire to. { was only going to complete a Bachelors degree and not further my

Explanation:cducation beyond that. | feel | will never pay my debt of financial aid. I will probably die first. I'm 55 years old now. They did not
communicate about the debt incurring unless you called them with questions.

Transferring Credits

Allegation

Type:

Led te

Enroliment:
They told me they had career advisors (a link on their website) to help you with finding a job after you completed your program.
There | would find help with resumes, interviewing and job openings. The website provided me with only resume help. Not

Allegation interview help or job placement. lt was totally up to me to find a job. I felt the school should have provided at least 6 months- | year

Explanation:of help for graduates looking for work in their field of study. Nothing like that happened. I continued to work my current job.
could never find a job in my field of study, not even a technician job. Their website. Not over the phone or in person or email. Only
the resume help was by email or online.

Career Services

Allegation

Type:

Led to

Enrollment:
Failed to be truthful about the type of job I could receive when finished. Led me to believe for more in employment. If T had known

Allegation — the truth, | would not have pursued a degree with the college. I felt taken advantage of financially. Disillusionment to the financial

Explanation:impact on my life. The amount of time it would take to pay back such a loan and then not receiving what was promised was

Educational Services

disheartening.
Allegation Other
Type:
Led to
Enroliment:

So far I just keep incurring a financial balance of debt from Fed Loans Servicing, plus my amount they want me to pay. They are
irying to have me fill out an IDR without going over what my payments would be. They just send you the form. I suppose they just
Allegation hope you fill it out and find out later the amount....and if you can't pay it then you've signed their legal document and they don't care
Explanation:about the individual or their circumstances. I asked them to adjust my payment level after my husband died in December 2018 and
they just mailed me a form for IDR. I wrote them a letter of explanation for my not being to pay their requested amount. I asked for
help, not a form to be sent to me.
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PROGRAMS

Name:

Credential:
Program Start Date:
Program End Date:

Multiple Program Explanation:

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Allied Health Science
Bachelor
L/1/2010
1/1/2016

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